Case 2:19-cv-01631-DOC-SP Document1 Filed 02/07/19 el lof7 Page ID#:1

WwW bv

ae

oOo DAN DWN

 

FIL

FEB -'7 2019

5 G
COMPLAINT BY A PRISONER UNDER THE CH Stele Sore 42 U.S.C. § 1983

Name: ZL e REE Z Zor NORTH DISTRICT ae Se

 

 

~~ (Last) (First) (Middle Initial)
Prisoner Number: Bee 20 FZ.
Institutional Address: 2. 6... ~ So Zao - sey 77-6 POR (PR

 

LODO er ee i PEL GPS

 

UNITED STATES DISTRICT COURT

NORT CUT 9° 690 a
F224 ee PG Se “

 

 

 

 

OME se ess wet lO BES
oe ra 42 U.S.C. § 1983
(NON HABEAS

AG fF PE” vor)

 

(Enter the full name(s) of the defendant(s) in this action.)

(Enter your full name. <A
VS. ) CaseNo.
) (Provided by the clerk upon filing)
LOS ENE ELES Coetzee )
oe ) COMPLAINT UNDER THE
) CIVIL RIGHTS ACT,
)
)
)
)

 

I. Exhaustion of Administrative Remedies.

Note: You must exhaust available administrative remedies before your claim can go
forward, The court will dismiss any unexhausted claims.

A. Place of present confinement «So “ow Crp ze pee CA

ww

Is there a grievance procedure in this institution? YES { NO
C. — If so, did you present the facts in your complaint for review through the grievance
procedure? YES 1] NO

D. If your answer is YES, list the appeal number and the date and result of the appeal at each

level of review. If you did not pursue any available level of appeal, explain why.

a, ze AZ
ea

ee

 

1. Informal appeal:

 

PRISONER COMPLAINT (rev. 8/2015)
Page | of 3

 

 

J
Case 2:19-cv-01631-DOC-SP Document1 Filed 02/07/19 , Page 2 of 7 Page ID #:2

So CON) CR Ot URE on

Bo Re bs SS ot perk po se EGS pe
Se Be SS eos Wen Dy Je. te. EE oS

2. First formal level:

 

ors
fr

ee
ad

3. Second formal level:

 

 

4. Third formal level:

 

wf A

 

E. _ Is the last level to which you appealed the highest level of appeal available to you?
YES oe =
F. If you did not present your claim for review through the grievance procedure, explain why.

Pw ee LALA BL PP al Fb see < PO Be pre x
er = ee ee ae lo A Age ae es
foes oe ti a 1 ee Sn BYP es eee woo e as lS
Il. Parties. “ ~~ °

A. Write your name and present address. Do the same for additional plaintiffs, if any.
CLO n.. SAAS IID ie rs EB Ry aR aed
LOE LOO 0 Kge ae Ae LO he Fi es

 

B. For each defendant, provide full name, official position and place of employment.
Pte dea OF el pee ete Zoe erg fp eee
i Fee ees ihe fo. = ae rrp al aa aa gape ———
Se BE Ae ae I. SIF pe
oer ee =
ea Def 8 reer EE = AoA ee Fy er

eee f= fr ee

 

 

 

PRISONER COMPLAINT (rev. 8/2015)
Page 2 of 3

 

 

 
Case 2:19-cv-01631-DOC-SP Document 1 Filed-02/07/19 Page-3.of 7 Page ID #:3

oC OD MW IY DH NH B&B YY

pee) Teepe: TT ee gee tl
Qn Mw & ww ' =

18
19
20
21
22
23

24

25

 

er”s Central Jail Pharmac \
{ 441 Bauchet St. RM# 6118” ‘
1 Los Angeles California 96012 (213)68e-a5a3

{

Order No: 1989966853 CJ 5200-2 903
BK*549980 Le
MERCER, FRANK

sa niseee ~ Nitroglucerin SL 6.4 mg Tab
lil. Statement of Clainy ° NITROSTAT SL 04 FE TAR generic for)
State briefly the facts‘o. yur case. Bes anuf!_______@ EEN ST 2 10€

and to include dates, when pe Do notg —_ .###SELF-NEDS##8#1 tab under tonoue @ onset of
statutes. If you have more than one claim, eac chest pain, repeat ony 9 min HiT pain is

numbered paragraph. relieved, if pain after 3 tabs in ALS min

Poe rt DWE Pe ee L208 ~ ~4# 22 & a a a Od we a

dP

LP ZPD ES Bi PAL get l ge" eS mee 2aZ, AP ay 2}, £.

LPL EO AHA Zt nee Pe BAe LF a. A ee Ko a = ee

Be re er eo sk Pe Bape ee eo oe a ZI AA 4
a ,

ZEAL FLO PAL La. L LLKL C9 £22 Z se Zee A "2 =

Looe £2 LZ Ott hg Ff pegs ee C ze pyres ic Cee?
pel 4 -— # —
LO Lf RPAH 9 OF Pe CAR Sn Awe Fee
LP RF Se a LA AP AS SL tea 22D Fa)
ORI hE Se HAS JO se ero sek pt ee a EA DT GE
, . ee, = aa:
LEP TL PLP LPP FO fg A Cr a er OEM oe ee £2 Eee

Fee = iE ACHE. SS ES wor ZOE Oe cee CZ aes
—_

oe Deere? wee Ze Zz? fe PIO AOE ES
IV. Relief. [SEE AL TIO AE PAZES) 7

Your complaint must include a request for specific relief. State briefly exactly what you
want the court to do for you. Do not make legal arguments and do not cite any cases or
statutes. ;

a meVse Reece e -

ZZ MEG yl EPO se ft Fé
22242 Bar S$ OF PS PIA TLS
~< = =

get ig edt bP 2D APE = oe Ade aa es Fee
edi

| DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.

we ©
Executedon: _“ - SO -Y/9 re eee

Date : Signature of Piaimiff

 

PRISONER COMPLAINT (rev. 8/2015)
Page 3 of 3

 

 
4 Case 2:19-cv-01631-DOC-SP Document1 Filed 02/07/19 Page 4of7 Page ID #:4

47

ey . ; ,
STANT EMBLEM OF ZEA/29} oar tee
4A

Sigts ff M2 rr > 0B eT of LecAg @ ON LY FT / OA E
= ZL PE 72 PLEO E* S77 \
ao 6 ees . t 5 :
SPF RPOLEL x» BA y SSB FP Op?
if

a ; a
LE 77 Venn re eek A? -R EA ESF + e4—
FRAET ION Oe ero” ve &e

* )
( ZL. ¢ A 7 sn Ae-£)

7 7 :
LA 2AVE 2% we SEAS EE FY

SEP i Fo CALE 72;
Z & Pz. AZ eS 7 SB 2g AG ge ee é
a Ty
CA peg! 2s pe Oe Af
vd ) OR aye

rf

Hove cue s 7 a ee Oe ass Adon oer e St fe
F/I EAR FT (PFI We rES

wa

YG PE Ee FE RES Boe res pee ZA Sh PB ob
. | : “ : VOM ES
a PtP, LNG yA SOF OE SE PF eo = ( AEBS aig a =
| — | . Lo es
OF AE 72S) ao CPP OE of fe a pf Bae ae : (fo OTR ©
FB eri! vl } ie ° | nace’
EFF A Oe 22. PPS BE x i eS 2S oe ene a
fog? Fe ee ee Bererves Pe ET _ ahi

ge . oe
e Pee £ wee. eH An SE, Zz Ceres

LO Bp tt DE ao Cw we
FtAeEeL OW 2 ryt Pee bene ~ por

Daw = (FA2x 7o- FEET O77 BRON eS ite aes lye
fA CEE EP «x

—= oP ccm ft YY

A EF. F 4 ON E re PN EA? FE OF pa AAS Fe a £ La

cece, "ope ‘ . *? IE LE ane

Zao # F bof Sy PEt PF F x) LOE ZT A ES S&S GS £9 ee x
7 * AS i } <-- : er Ss : yf

a. ia a xO OL OLS Oo C c

6 P Pa, ony ' a “
oe AGP OE ed eB APOE BEE Bp pe” SAE FTO Ar 2 2

Y
y

i

LIOLE SL VO  pece PGE.

70>

Case 2:19-cv-01631-DOC-SP Document1 Filed 02/07/19 Page5of7 Page ID#:5

DEGEE f Fo FASE A ar 7 tf Re Be. ETS OCS E 0

>—~O OD IN EET RAT E SESLEREAT SOW” ( Wee E))
OR EVEN LP POA FA+LV7— “Kyvoers ES PR ere e

PIN OL DEB PPCAee AF On cee CLE Le EWL (Deeg -

CEM? S.
FAYE Se 2 FF Qeper~es LOE ZA FY OA E 22
SAGE E er 7H (Serpe x ~ FO PSS7 9 7 427 &
)
w =)
Dore EVEWT Ge ef PPEPE ES Oar a so 2c EO Bg

. > e os
DE Pare Ss AL OAL — COP AeA oO 2 Ze

rr
5 =_oO Lo a ~~ @
wee ee en

7? FB PEE Ban Fe Se eer gy AT

 

ZO 7 Bee aye AIIPABRREN FT” GYEBALSE Coenw
T7727 = DE Feel E a GF A2 APP, x ZO P_y?7, FOLD 3
= KO Se BELG LIES SP LESH EX L Oca BOWE

EVENN- TAL OE yr“ SeOZeOE | CDH =), ELS ES

LO? CRAY Eo oo FT oF TF APE | Se & BAAS
a UDO TE “a ©

(222 Yk. So, COP OW COEF Per) one 2. ALO OL

FO CE ae OFF FOP Fer pre € oN F BO

“
VETAW AL” Bgl ASS) EMEL 6 (é .
TH E- SALE ee Pm JS DEOLITA~ AO ES vO2 27 LIS

FAYE En UCI) Dez 5 (& 50) / IPE AO! Fee fe

F726 PPE E Bb coy ey Ce 7 \ 6 Der 7-7 ES COE S <

AALAREE OF AH BTCC ES AL Sory% ASSEN

PIF a-7 , Aer rz Ler 4 FT Bao,
PA 692.00 BCOVE

AF 2. = SOD EE 2

LOR AP PEEPS
ZOE TMT TEC

TALE. F2~ E-

LOI TAY OF ALE

AAW SEE FHKE 1 WES AE
ass

Case 2:19-cv-01631-DOC-SP Document1 Filed 02/07/19 Page 6of7 Page ID #:6

i

PL EWE Els S VOTE ME EOS E —PEFVFTVTON ET.
(Ff

Aewtd La Gree PUSH A Le EF

¥O 2 G7 = a ye
RAPE of Ger ae, se of 2A GF FEV. Fa Zo Es
Berroa ee@ FS #7 SS" GWE A Bey FE, Se 2

ghee peer FO BE Bf few £ EF PH”

FS E 2 a ORS f fag Bet FA, ~ gor r POL OAT E. P2
wr SP fon ;

AE TIRE ge ee E Cre E-

THT Ss 4 PLE LO PVE LF LOF 6g a VP as Cours”
e . : ¥ : 7 . 4 Tal
NEA A 72 7 77IDAL FO # Ss YPE Se 4 VES VE € EF AI LC CCE E

7 : bpp PAPA AL ERGO E BR. gee. LY Ee
‘ thet S 7 eaee PEF EMF Te

(hs Lid WE:

ee LEE + Seo So

, : > LE Ztorwvwer ttf PIE
gs wpe Ser"S SC eR wwe — , ,
oe — Ber Lefer om S7TATE F£ SPE Re
al ELA CEE 7-5" ae — oem ge get
SEPT 4S fe SEP AIA E Siva Bh ee earrr ns *
i . r ; SATS
PETA LONE CEACIPS YEE? Pee at at patna
| ' | é es et = VE LAE
7 O PP SER Ol S ae e Le we WEEMS A re ere .
g.a-B. S Oe On Reg REE Lr ATCO PEM (Hee
roe £ eb trg) | PPE EFC For FLEE ee OF GB. PKA
“MS GPoIAT EC RCE ae LH AOL LEC ABE.
be Px Ceerde Pe ofe fer 8 ree Se Zo
ars CLD ALI Ons ~

Sc/ALE

o? - ; . ,
POA PF AP BE “ Der coe Sipe eiteits foes
Kil etl PF or KR MEAECL OF

ee ee LOWER AOE AS

Pee SP PIECE LAF OT be -

‘ ae J 3 ark
f" Aa S E Sev a cet r BR- PDE BLT 6 EF . Ton Le
PHWATES $ CLAP EEE
eet | Bere De Meese ACCCRKA ALT SO
FES

Cos T eke PP A LOE OE

CEES) Lert? P DE ROBO OEE 5
Case 2:19-cv-01631-DOC-SP Document1 Filed 02/07/19 Page 7of7 Page ID#:7

WSP - Wasco State Prison

Patient: MERCER, FRANK
DOB/Age/Sex: 9/24/1958 / 59 years / Male CDCR: BG2072

 

Discharge Documentation

 

Follow-up Appointments
Consult to Optometry 08/15/18 7:00:00 PDT, Routine, Physician ordered, 20/40, 09/06/18 23:59:00 PDT, WSP C004 1

EKG 07/09/18 0:01:00 PDT, Routine, Onsite, ATRIAL FIB, PLEASE DO EKG FOR CARDIO FOLLOW UP ON 8-24-18 AS PER
DR. NAIR., 08/24/18 23:59:00 PDT

Medical Chronic Care (CCP) Follow Up 20 06/11/18 0:01:00 PDT, 180 days, 12/11/18 23:59:00 PST, Hypothyroid, anemia, atrial
fibrillation

Medical Chronic Care (CCP) Follow Up 20 08/10/18 0:01:00 PDT, 30 days, 09/09/18 23:59:00 PDT, f/u

Chronos

  
   
 
  

28-D Dental Priority Classification 05/15/18 8:00:00 PDT, DPC 2

7410 05/15/18 10:23:00 PDT

  

 

preteege  e  e
7410 (SOMS) 05/15/18 10:24:28 PDT, P, 7410 Expire Date 12/31/9999, LBO, WRN, Low bunk and ; ground- floor due t to i medical
_hecessity f.

  

 

TK ead RI = fo ROOF OE LEE

DPW2= Full Time Wheelchair User Impacting Placement DPO= Intermittent Wheelchair User Impacting
Placement
DPM=Mobility Impairment Impacting Placement DLT=Requires Level Terrain NOT Impacting
Placement
DPH=Deaf/Hearing Impairment Impacting Placement DNH=Hearing Impairment NOT Impacting
Placement
DPV=Blind/Vision Impairment Impacting Placement BFWCO=Barrier Free Wheelchair
GFLS= Ground Floor-Limited Stairs -— GFNS=Ground Floor-No Stairs

;~ LBO= Lower/Bottom Bunk Only IAA=Inmate Attendant/Assistant
WCFT=Full Time Wheelchair User WCLT=Limited Wheelchair User
TVWL=Transport Vehicle with Lift SC=Special Cuffing Needed,

 

Legend: c=Corrected, @=Abnormal, C=Critical, L=-Low, H=High, f=Result Comment, i=Interp Data, *=Performing Lab

 

Report Request ID: 11267863 Print Date/Time: 9/14/2018 11:03 PDT

WARNING: This report contains confidential, proprietary, and/or legally privileged
information intended for the recipient only.
